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                          Exhibit 3
             4/20/2021 Communal Prayer Policy
                     for SAMs Inmates

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Case
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